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Sean and Tamina Burke

                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN

Sean and Tamina Burke                              Case No.: 2:20-cv-01531-LA
                                                   NOTICE OF SETTLEMENT WITH
                       Plaintiffs,                 DEFENDANT JPMORGAN CHASE BANK,
                                                   N.A.
       v.


Experian Information Solutions, Inc., et. al.




                       Defendant.
TO THE COURT, CLERK OF COURT, AND ALL PARTIES:
       PLEASE TAKE NOTICE THAT plaintiffs Sean and Tamina Burke and defendant

JPMorgan Chase Bank, N.A. have reached a settlement in principle of the above captioned case

and are in the process of documenting said settlement. Plaintiffs anticipate filing a dismissal of

JPMorgan Chase Bank, N.A. within 35 days once the settlement is finalized.
                                                Gale, Angelo, Johnson, & Pruett, P.C.
Dated: January 12, 2021                                /s/ Elliot Gale
                                                       Elliot Gale
                                                       Attorney for Plaintiffs




                                     NOTICE OF SETTLEMENT - 1
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